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                               UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN JOSE DIVISION

18
      FEDERAL TRADE COMMISSION                   Case No. 5:17-CV-0220-LHK-NMC
19
                 Plaintiff,
20         v.                                    QUALCOMM’S HIGH PRIORITY
                                                 OBJECTIONS AND RESPONSES
21    QUALCOMM INCORPORATED,                     FOR JANUARY 8, 2019 TRIAL DAY
      a Delaware corporation,
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                 Defendant.
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 1          Pursuant to the Court’s October 24 Case Management Order (ECF No. 922), Qualcomm

 2   respectfully submits the following high-priority objections and responses for January 8, 2019.

 3          Qualcomm’s HPO #1 (objection to the written answers of Hwi-Jae Cho of LG

 4   Electronics: 13-15, 34, 36, 37, 38(a-d, g, h), 46, 47, 50-52, 61, 65, 66, 86-89, 91, 93, 98-101,

 5   104, 105, 107 and 108, on the grounds that he lacks personal knowledge or foundation for

 6   his testimony and because his testimony is hearsay)

 7          The FTC must establish a foundation for the testimony it presents. FRE 602 (“A witness

 8   may testify to a matter only if evidence is introduced sufficient to support a finding that the

 9   witness has personal knowledge of the matter”). The FTC seeks to introduce written responses

10   from Mr. Cho of LGE regarding documents and matters about which he lacks personal

11   knowledge; much of it is also hearsay. These answers are inadmissible under FRE 602 and 802.

12                  First, Mr. Cho purports to testify about LGE’s chip-related agreements and chip

13   purchases. (See Qs. 13-15, 104-105.) Specifically, Mr. Cho writes

14                                              (Qs. 13-14) and

15                                (Qs. 104, 105). But Mr. Cho is, and always has been, an employee

16   in LGE’s IP Center dealing with patent licensing and prosecution; he has no foundation for

17   testifying about procurement and procurement agreements. (Qs. 4, 5.) Second, Mr. Cho

18   speculates about the positions LGE took during its                                      with

19   Qualcomm and its reasons therefor. (Qs. 36, 37, 38(a)-(d), (g)-(h), 61, 86-89, 91, 93, 98-101,

20   107, 108.) As foundation, Mr. Cho claims that,             he was            ” in discussions with

21   Qualcomm and

22                                                            ”. (Q. 30.) But Mr. Cho did not

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24

25                    , see Q. 4); indeed, his purported “                                   is nowhere

26   explained. At most, Mr. Cho is reporting about what he heard from other unnamed individuals at

27   LGE, who may (or may not) have personally participated in                            . This is not a

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 1   proper foundation for the designated responses. Whereas an executive may sometimes testify

 2   about information he had learned from his reports, a low-ranking employee may not testify as to

 3   corporate actions and decisions based on his purported understanding of what he may have heard

 4   from his superiors. The distinction here is particularly clear: Mr. Cho is now the Director of the

 5   Intellectual Property Center at LGE, and in that capacity may be presumed to have knowledge of

 6   LGE’s                                          But Mr. Cho may not properly testify as to the

 7                     based on what he heard                                             at LGE.

 8   Third, Mr. Cho provides answers about the contents of letters exchanged between LGE and

 9   Qualcomm executives during                          —letters that he neither sent nor received—

10   and therefore lacks personal knowledge of. (E.g., Qs. 34, 46, 47, 50-52, 65, 66.) Mr. Cho’s

11   answers should be excluded under FRE 602 and 802.

12           Qualcomm’s HPO # 2 (objection to CX5260, CX6774, CX6813, CX6816 and

13   CX8117 designated for admission through the testimony of Hwi-Jae Cho for lack of

14   foundation and personal knowledge and hearsay)

15           The FTC seeks to admit five documents through Mr. Cho’s written answers even though

16   Mr. Cho did not author or receive them. These documents include

17   (CX5260, CX8117) and a

18                       (CX6774, CX6813, CX6816). To the extent the documents contain

19   statements by persons other than Qualcomm, they also are inadmissible hearsay. To be clear,

20   Qualcomm would not object on these bases if the FTC sought admission of the documents

21   through a sponsoring witness who could lay proper foundation for them.

22           Qualcomm’s HPO #3 (objection to designated deposition testimony of Isabel Mahe

23   of Apple for lack of foundation and personal knowledge: 140:15-19, 141:25-142:20, 142:22-

24   143:2, 200:23-201:5, 235:10-15, 273:13-17)

25           The FTC has designated portions of Ms. Mahe’s deposition testimony in which she

26   speaks at length about an agreement between Apple and Qualcomm about which she has no

27   personal knowledge. By her own admission, Ms. Mahe “

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 1               ” (Tr. 142:4-6). Elsewhere, Ms. Mahe makes clear that she was

 2                                                             (Tr. 139:13-15), and that at most

 3

 4                                      . (Tr. 140:6-9.) When asked about the circumstances under

 5   which any agreement was reached, Ms. Mahe responded, “

 6                                           ” (Tr. 347:15-18). As to the effects of the agreement,

 7   Ms. Mahe testified that she “[                                                          ]” any

 8   incentive agreement and therefore could “

 9                                                                     . (Tr. 147:18-22.) And Ms.

10   Mahe further testified that her views of the effect of the agreements on Apple’s choice of

11   supplier was formed “                     ” by others. (Tr. 142:4-10.)

12          Based on Ms. Mahe’s admitted lack of personal knowledge of the Apple-Qualcomm

13   agreement and its impact (if any) on Apple’s sourcing decisions, this testimony should be

14   excluded.

15          Qualcomm’s HPO #4 (objection to designated deposition testimony of Todd

16   Madderom for lack of foundation and personal knowledge: 212:9-23)

17          The FTC designates testimony that was provided in response to a question calling for

18   speculation, even though the witness explicitly testified that his answer was itself speculation.

19   Mr. Madderom was asked a hypothetical question about the consequences of “

20                                                              .” (212:9-11.) The witness prefaced

21   his response with: “                                             (212:12.) Mr. Madderom’s

22   testimony therefore should be excluded. Sempra Energy v. Marsh USA, Inc., No.

23   CV0705431SJOJCX, 2008 WL 11335050, at *13-16 (C.D. Cal. Oct. 15, 2008) (excluding

24   “speculative” deposition testimony).

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 1           Qualcomm’s Response to FTC HPO No. 1 (QX9343) (demonstrative filed with

 2   FTC’s HPOs)

 3           The FTC’s objections to QX9343—a list of certain chips manufactured by Qualcomm

 4   that the FTC and its economic expert, Prof. Shapiro, have identified as within the “premium”

 5   LTE market—are without basis. Qualcomm does not seek admission of the demonstrative into

 6   evidence. Nor does it seek to use it to elicit expert testimony from Mr. Wyatt. Rather, the

 7   demonstrative will be used to assist the Court in understanding the testimony of Mr. Wyatt, a VP

 8   of Finance at QCT, Qualcomm’s chip and software business. Mr. Wyatt is capable of testifying,

 9   in his capacity as a fact witness, concerning the characteristics of the chips identified by the FTC

10   and listed in the demonstrative. The FTC asserts that the demonstrative is misleading or

11   prejudicial pursuant to FRE 403, but it has not identified any basis supporting that objection; the

12   FTC has never disputed the accuracy of the exhibit.

13           Qualcomm’s Response to FTC HPO No. 2 (QX9226)

14           The FTC objects to statements made by Cristiano Amon and third parties in QX9226 on

15   hearsay, personal knowledge, relevance and completeness grounds. QX9226 contains an email

16   chain attaching a series of letters signed by Mr. Amon and addressed to various OEMs.

17   Mr. Amon’s signature appears on each of the letters in QX9226, and, through his testimony,

18   Mr. Amon will establish his personal knowledge of their contents. Moreover, the letters are not

19   hearsay because they are verbal acts and are not being offered for the truth of their contents, but

20   rather for their existence and effect on the recipient OEMs. Qualcomm does not seek to elicit

21   testimony from Mr. Amon about the cover emails to which the signed letters are attached, and

22   has offered to stipulate to the limited admission of QX9226 without them. Finally, the FTC

23   asserts that the collection of letters to OEMs contained in QX9226 is incomplete, but it has not

24   identified any other documents it believes should be considered together with QX9226 for the

25   sake of completeness. See FRE 106 (“an adverse party may require the introduction, at that

26   time . . . of any other writing . . . that in fairness ought to be considered at the same time”).

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 1          Qualcomm’s Response to FTC HPO No. 3 (QX9322)

 2          The FTC objects to statements made by Mr. Amon and third parties in QX9322 as being

 3   inadmissible hearsay. QX9322 is an email authored by Mr. Amon, about which he is prepared to

 4   testify. Mr. Amon’s statement in the email about complaints from OEMs is not being offered for

 5   the truth of matters asserted in those complaints, but for their contemporaneous effect on Mr.

 6   Amon’s state of mind.

 7          Qualcomm’s Response to FTC HPO No. 4 (QX0079)

 8          The FTC objects to QX0079, a 2011 submission by Intel to the FTC in which Intel

 9   advocates against regulatory intervention in SEP licensing. The FTC seeks to exclude the

10   document on grounds of relevance, foundation and hearsay. QX0079 is clearly relevant. The

11   FTC alleges Qualcomm’s SEP licensing practices violate its FRAND obligations and the

12   antitrust laws. Intel has been a complainant to the FTC and is aligned with the FTC; one of its

13   executives is designated to testify in support of the FTC’s case. The fact that in 2011—decades

14   after Qualcomm first adopted the practices at issue—Intel told the FTC that reports of problems

15   with SEP licensing “have been overblown” and that the FTC should be “more concerned about

16   . . . adoption of optimal industry standards than about the short term royalties that innovators

17   may charge”, id. at 2, is clearly relevant.

18          The FTC’s objection that Ms. Evans of Intel lacks personal foundation to testify

19   concerning the document is both premature and misplaced. Ms. Evans’s testimony has not yet

20   begun. And, even if she is unable to sponsor the document, the Court may take judicial notice of

21   the fact that Intel submitted QX0079 to the FTC. (ECF No. 931 at 9-10 (granting judicial notice

22   of documents submitted to the Korea Fair Trade Commission because they were “filings with

23   government regulatory bodies”).) The statements in the submission are not hearsay because they

24   record Intel’s state of mind regarding the state of SEP licensing in 2011, the very period when

25   Intel was allegedly harmed by Qualcomm’s practices. FRE 803(3).

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 1            Qualcomm’s Response to FTC HPO No. 5 (Qualcomm’s designations of deposition

 2   testimony of Isabel Mahe pursuant to the rule of completeness: 139:5-140:14, 316:1-4)

 3            The FTC’s objection to Qualcomm’s designation of Mahe Tr. 139:5-140:14 pursuant to

 4   the rule of completeness further compounds the flaws of Ms. Mahe’s testimony that is the subject

 5   of Qualcomm’s objection above. In Qualcomm’s completeness designation, Ms. Mahe testifies

 6   that she

 7              (Mahe Tr. 139:13-15), and “

 8                     ” (Mahe Tr. 140:8-9). The FTC’s extensive designation of Ms. Mahe’s

 9   testimony is therefore misleading without Qualcomm’s completeness designation, contrary to the

10   fairness principles of FRE 106.

11            Mahe Tr. 316:1-4 completes the testimony designated by the FTC at Mahe Tr. 315:15-24.

12   Without the designation, the Court would be left with a misleading impression by the testimony

13   designated by the FTC. Specifically, the FTC designated testimony regarding a heading in an

14   exhibit, which raised the question of whether                                                   .

15   (Tr. 315:15-24.) However, the FTC omitted testimony regarding what appears under that

16   heading, where the document states that                                      . (Tr. 316:1-4.)

17   Absent this completeness designation, the testimony designated by the FTC is misleading, as it

18   suggests the document and related testimony have the opposite meaning of what they in fact

19   state.

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     Dated: January 7, 2019             Respectfully submitted,
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